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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of Florida

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Atlantic International Bank Limited
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             181370
                                                        Other ___________________________.                     Tax Identification Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Julian Murillo
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which            Appointment of Julian Murillo as liquidator of debtor Atlantic International Bank Limited by the
     appointment of the foreign             Central Bank of Belize pursuant to Section 26 of the International Banking Act, Chapter 267,
     representative(s) occurred             Revised Edition 2011 of the Substantive Laws of Belize

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               
                                           ✔      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                           
                                           ✔      Yes




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Debtor          Atlantic International Bank Limited
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Belize
                                        ______________________________________________                   #1 Belcan Plaza
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Belize City
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Belize
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 #1 Belcan Plaza
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Belize City
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Belize
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              http://www.atlanticibl.com/
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership
                                                 ✔
                                                     Other. Specify: A Private Company Limited by shares and incorporated in Belize under
                                                                         the Companies Act, Chapter 206 of the Laws of Belize, 1980
                                               Individual




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Debtor        Atlantic lnternational Bank Limited
                 Nqme
                                                                                              Case number       (rr




rz. Why is venue proper in fhis      Check one:
      districQ                       il     Debtofs principal place of business or principal assets in the United States are in this district.
                                     n      Debtor does not have a place of business or assets in the United States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district:


                                     tr     lf neither box is checked, venue is consistent with the interests of justice and the convenience
                                            of the parties, having regard to the relief sought by the foreign representative, because:




re. Signature of foreign
                                     I request relief in accordance with chapter 15 of           title   1 1   , United States Code.
      reprcsentative(s)
                                     I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                     relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I   declare under                 of       that the foregoing is true and correct,


                                     ,c                                                                        Suwnt                l+"    Mu^ruu
                                                                  n                                      Printed name


                                     Executed on          0tl/a1/prq
                                                          +
                                                          MM /DD/       YYYY



                                      *
                                          Signature of foreign representative                            Printed name


                                     Executed on
                                                           MM /DD/      YYYY




tl.   Signature of aftorney          ,c /s/ Patricia A. Redmond                                          Date           05/13/2019
                                           Signature of Attorney for foreign representative                             MM /DD/YYYY

                                          Patricia A. Redmond
                                          Printed name
                                          Stearns Weaver Miller Weissler Alhadeff & Sitterson, P-A.
                                          Firm name
                                          150 West Flagler Street
                                          Number          Sheet
                                          Miami                                                                FL           33130
                                          City                                                                  State           ZIP Code


                                          305-789-3553                                                          pred mon    d   @stea rnsweaver. com
                                          Contac{ phone                                                         Email address




                                             303739
                                          Bar number                                                            State




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In re Atlantic International Bank Limited
Chapter 15 Petition for Recognition of a Foreign Proceeding

                                         EXHIBIT 1

   Petition Section 6: Decision Commencing the Foreign Proceeding and Appointing the
                                  Foreign Representative.




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In re Atlantic International Bank Limited
Chapter 15 Petition for Recognition of a Foreign Proceeding

                                          EXHIBIT 2

                         Petition Section 8: Others entitled to notice.

List containing the names and addresses of:

       (i)    all persons or bodies authorized to administer foreign proceedings of the debtor:

              •       Julian Murillo, Liquidator, Atlantic International Bank Limited
                      #1 Belcan Plaza, Belize City, Belize. C.A.

       (ii)   all parties to litigation pending in the United States in which the debtor is a party
              at the time of filing of this petition:

              •       Federal Trade Commission

                      c/o:   Jonathan A Cohen
                             600 Pennsylvania Ave. Nw Cc-9528
                             Washington, DC 20580

                             Amanda Kostner
                             600 Pennsylvania Ave. Nw
                             Washington, DC 20580

                             Benjamin Theisman
                             600 Pennsylvania Ave. Nw
                             Washington, DC 20580

                             Elizabeth Jeker Averill
                             600 Pennsylvania Ave. Nw
                             Washington, DC 20580

                             Khouryanna DiPrima
                             600 Pennsylvania Ave. Nw
                             Washington, DC 20508

              •       Ecological Fox, LLC a Maryland limited liability company

              •       Luke Chadwick, individually and as an officer or owner of Global
                      Property Alliance, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize, The
                      Reserve, Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco
                      Futures Development, Eco Futures Belize)



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•    Andris Pukke, individually and as an officer or owner of Global Property
     Alliance, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize, The Reserve,
     Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
     Development, Eco Futures Belize) a.k.a Marc Romeo a.k.a Andy Storm

     c/o:   Andrew M Williamson
            Pierce Bainbridge Beck Price & Hecht LLP
            One Thomas Circle, Nw Suite 700
            Washington, DC 20005

            Vanessa M Biondo
            Pierce Bainbridge Beck Price and Hecht LLP
            20 W. 23rd St.
            New York, NY 10010

            Eric M Creizman
            Pierce Bainbridge Beck Price and Hecht LLP
            20 W. 23rd St. 5th Floor
            New York, NY 10010

            Glenn Frederick Ivey
            Price Benowitz LLP
            409 Seventh Street, Nw Suite 200
            Washington, DC 20009

            Jeffrey Newton
            Pierce Bainbridge Beck Price and Hecht LLP
            20 W. 23rd St.
            New York, NY 10010

            Jesse D Stein
            Price Benowitz, LLP
            409 7th St., Nw, Suite 200
            Washington, DC 20004

            Minyao Wang
            Pierce Bainbridge Beck Price and Hecht LLP
            20 W. 23rd St. 5th Floor
            New York, NY 10010

            Patrick Bradford
            Pierce Bainbridge Beck Price and Hecht LLP
            20 W. 23rd St.
            New York, NY 10010

            Stephen Farrelly
            Pierce Bainbridge Beck Price and Hecht LLP
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             20 W. 23rd St. 5th Floor
             New York, NY 10010

•     Peter Baker, individually and as an officer or owner of Global Property
      Alliance, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize, The Reserve,
      Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
      Development, Eco Futures Belize)

      c/o:   Alain Jeffrey Ifrah
             Ifrah PLLC
             1717 Pennsylvania Ave Nw Ste 650
             Washington, DC 20006

             William I Rothbard
             Law Offices of William I. Rothbard
             2333 Canyonback Rd.
             Los Angeles, CA 90049

•     Global Property Alliance, Inc., a California corporation, also d.b.a
      Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
      Bamboo Springs, Eco Futures, Eco Futures Development, Eco Futures
      Belize, Sittee River Wildlife Reserve, Buy Belize, Buy International

•     Sittee River Wildlife Reserve, an entity organized under the laws of Belize
      d.b.a Sanctuary Bay d.b.a Sanctuary Belize d.b.a The Reserve

•     Buy Belize, LLC, a California limited liability company d.b.a Sanctuary
      Bay d.b.a Sanctuary Belize d.b.a The Reserve d.b.a Kanantik d.b.a Laguna
      Palms d.b.a Bamboo Springs

•     Buy International, Inc., a California corporation d.b.a Sanctuary Bay d.b.a
      Sanctuary Belize d.b.a The Reserve d.b.a Kanantik d.b.a Laguna Palms
      d.b.a Bamboo Springs

•     Foundation Development Management Inc., a California corporation

•     Eco-Futures Development a California corporation d.b.a Sanctuary Bay
      d.b.a Sanctuary Belize d.b.a The Reserve

•     Eco-Futures Belize Limited a company organized under the laws of Belize
      d.b.a Sanctuary Bay d.b.a Sanctuary Belize d.b.a The Reserve

•     Power Haus Marketing a California corporation Defendant Brandi
      Greenfield individually and as an officer or owner of Global Property
      Alliance, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize, The Reserve,
      Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
      Development, Eco Futures Belize)

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•     Bg Marketing, LLC, an Oklahoma limited liability company

•     Prodigy Management Group, LLC, a Wyoming limited liability company

•     John Usher, individually and as an officer or owner of Sittee River
      Wildlife Reserve (also d.b.a Sanctuary Bay, Sanctuary Belize, and The
      Reserve) and Eco-Futures Belize Limited (also d.b.a Sanctuary Bay,
      Sanctuary Belize, and The Reserve)

•     Rod Kazazi, individually and as an officer or owner of Global Property
      Alliance, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize, The Reserve,
      Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
      Development, Eco Futures Belize

•     Foundation Partners, a California corporation formerly known as Red
      Crane Advisors, Inc.

•     Frank Costanzo, individually and as officer or owner of Ecological Fox,
      LLC, Buy International, Inc. (also d.b.a Sanctuary Bay, Sanctuary Belize,
      The Reserve, Kanantik, Laguna Palms, and Bamboo Springs), and
      Foundation Development Management, Inc. a.k.a Frank Green a.k.a Frank
      Peerless Green a.k.a Frank Connelly a.k.a Frank Connelly-Costanzo

•     Belize Real Estate Affiliates, LLC, a limited liability company organized
      under the laws of St. Kitts and Nevis d.b.a Coldwell Banker Belize d.b.a
      Coldwell Banker Southern Belize

•     Exotic Investor, LLC, a limited liability company organized under the
      laws of St. Kitts and Nevis d.b.a Coldwell Banker Belize d.b.a Coldwell
      Banker Southern Belize

•     Southern Blaze Realty, LLC, a limited liability company organized under
      the laws of Belize d.b.a Coldwell Banker Belize d.b.a Coldwell Banker
      Southern Belize

•     Sanctuary Belize Property Owners' Association a Texas non-profit
      corporation d.b.a The Reserve Property Owners' Association

•     Angela Chittenden

      c/o:   James Bradford McCullough

             Lerch Early and Brewer Chtd
             Three Bethesda Metro Center Ste 460
             Bethesda, MD 20814-5367

             Joshua Michael Robbins

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             Los Angeles, CA 90017

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             New York, NY 10010

             Peter P Hardin
             Greenberg Gross LLP
             601 S. Figueroa St. 30th Floor
             Los Angeles, CA 90017

•     Beach Bunny Holdings, LLC, a California limited liability company

      c/o:   James Bradford McCullough

             Lerch Early and Brewer Chtd
             Three Bethesda Metro Center Ste 460
             Bethesda, MD 20814-5367

             Joshua Michael Robbins
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             New York, NY 10010

             Peter P Hardin
             Greenberg Gross LLP
             601 S. Figueroa St. 30th Floor
             Los Angeles, CA 90017

•     The Estate of John Pukke a.k.a The Estate of Janis Pukke a.k.a The Estate
      of John Andris Pukke

•     John Vipulis

•     Deborah Connelly

•     Newport Land Group, LLC, a Wyoming limited liability company, a.k.a
      Laguna Palms a.k.a Sanctuary Belize a.k.a Bamboo Springs a.k.a The
      Reserve

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•     Michael Santos, individually and as an officer or owner of Global Property
      Alliance, Inc. a.k.a Sanctuary Bay, Sanctuary Belize, The Reserve,
      Kanantik, Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
      Development, Eco Future Belize, Sittee River Wildlife Reserve, Buy
      Belize, Buy International, a.k.a Buy Belize, LLC ( also d.b.a Sanctuary
      Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna Palms, and
      Bamboo Springs) a.k.a Buy International Inc. (also d.b.a Sanctuary Bay,
      Sanctuary Belize, The Reserve, Kanantik, Lagunal Palms, and Bamboo
      Springs)

      c/o:   Courtney Roberts Forrest

             KaiserDillon PLLC
             1401 K Street Nw Suite 600
             Washington, DC 20005

             Jennifer Anne Short
             KaiserDillon PLLC
             1099 14th St. Nw 8th Floor
             Washington, DC 20005

•     Ameridebt, Inc.,

•     Debtworks, Inc.

•     Pamela Pukke a.k.a Pamela Shuster

•     Stephanie Brown

      c/o:   Ashlee Smith
             GodwinTirocchi, LLC
             3300 N Ridge Rd Ste 275
             Ellicott City, MD 21043

•     Cross-Frederick Associates, LLC

•     Fox News Network, LLC

      c/o:   Todd Michael Reinecker
             Miles and Stockbridge PC
             100 Light St
             Baltimore, MD 21202-1487
             USA
             14107276464
             Fax: 14106984507
             Email:Treinecker@milesstockbridge.Com


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•     Saul Ewing, LLP

•     Jones Day

•     Island Capital (Igy) Marinas

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             Proskauer Rose LLP
             11 Times Square
             New York, NY 10036

             Lee C Douthitt
             ATTORNEY TO BE NOTICED
             Miles & Stockbridge, P.C.
             100 Light Street
             Baltimore, MD 21202

•     Media Choice, LLC

•     Garrett Smith

•     Rus, Miliband & Smith

•     Chapter 11 Trustee

•     The Hampshire Generational Fund LLC

•     David Portman

•     Harvey Schultz

•     Steven M. Schultz

•     Jonathan B Schultz

•     John A Saraceno

•     Jerry Brown

      c/o:   Ashlee Smith
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•     Bill Ewing

      c/o:   Ashlee Smith
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•     Cheryl Ewing

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•     Craig Hibbert

      c/o:   Ashlee Smith
             ATTORNEY TO BE NOTICED
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•     Trisha Hibbert


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•     Lisa Mulvania

      c/o:   Ashlee Smith
             GodwinTirocchi, LLC
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•     Richard Mulvania

      c/o:   Ashlee Smith
             GodwinTirocchi, LLC
             3300 N Ridge Rd Ste 275
                              11
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•     David Reeves

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             David O Godwin, Jr
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•     Penny Scrutchin

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•     Thom Scrutchin

      c/o:   Ashlee Smith
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                       Chicago, IL 60606

(iii)   all entities against whom provisional relief is being sought under § 1519 of the
        Bankruptcy Code:

        •      Federal Trade Commission

               c/o:    Jonathan A Cohen
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                       Amanda Kostner
                       600 Pennsylvania Ave. Nw
                       Washington, DC 20580

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In re Atlantic International Bank Limited
Chapter 15 Petition for Recognition of a Foreign Proceeding

                                          EXHIBIT 3

   Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007(a)(4) and 7001.1

The following corporation directly or indirectly owns more than 10% of the Debtor’s equity
interest:

       Argento Financial Services Ltd.
       1 Belcan Plaza
       Belize City, Belize
       C.A.




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